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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT BANKS,                               :
    Plaintiff,                              :
                                            :
       v.                                   :      CIVIL ACTION NO. 20-CV-3498
                                            :
CITY OF PHILADELPHIA, et al.,               :
     Defendants.                            :

                                           ORDER

       AND NOW, this 3rd day of August, 2020, for the reasons set forth in the foregoing

Memorandum, it is ORDERED that:

       (1)     Leave to proceed in forma pauperis is GRANTED pursuant to 28 U.S.C. § 1915.

       (2)     The Complaint is DEEMED filed.

       (3)     Banks’s claims are DISMISSED WITHOUT PREJUDICE for lack of subject

matter jurisdiction.

       (4)     The Clerk of Court shall CLOSE this case.1

                                            BY THE COURT:

                                            /s/ Harvey Bartle III

                                            HARVEY BARTLE III, J.




1
   To the extent Banks intends to appeal, he should check the Court’s website for developments
regarding the Court’s response to COVID-19 (coronavirus), available here,
http://www.paed.uscourts.gov/response-to-covid-19. The website contains information about
filing and accessibility of the Courthouse while COVID-19 measures are in place.
